          Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 1 of 29 PageID #: 1

  3hawn AO 106 (Rev. 06/09) Application for a Search Warrant

                                UNITED STATES DISTRICT COUR T
                                                                       for the
                                                        Eastern District of Missouri

                In the Matter of the Search of                                   )
 3 electronic devices (target devices #1 - #3) described in                      )
 Attachment A, for evidence described in Attachment B                            )         Case No. 4:21 MJ 1416 (JMB)
 (List of information/items to be seized) currently being held                   )
 as evidence located within the Eastern District of Missouri.                    ) SUBMITT ED TO THE COURT AND
                                                                                 )SIGNED BY RELIABL E ELECTRO NIC MEANS

                                    APPLICATION FOR A SEARCH WARRA NT
      I, DAVID MORTON • a federal law enforceme nt officer or an attorney for the governme nt request a search
 warrant and state under penalty of perjury that I have reason to believe that on the following property:
 3 electronic devices (target devices #1 - #3) described in Attachment A, for evidence described
                                                                                                        in
 Attachment B (List of information/items to be seized) currently being held as evidence located within
                                                                                                       the
 Eastern District of Missouri,

 located in the _ __,E=A'-"=-ST""'E=R=N'-'--_ District of      MISSOURI              • there is now concealed

                                                          SEE ATTACHMENT B.

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                 ✓ evidence of a crime;
                 ✓ contraband ; fruits of crime, or other items illegally possessed;
                 ✓ property designed for use 1 intended for use, or used in committin g a crime;
                    •   a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
           Code Section                                                                Offense Description
     Title 21, U.S.C., §§ 846, 84l(a)(l)                              Conspiracy to possess with intent to distribute controlled
                                                                      substance(s)
          The application is based on these facts:
                 SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE.

                ✓ Continued on the attached sheet.
                0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ ___, is requested
                  under 18 U.S.C. § 3103a. the basis of which is set forth on the attached sheet.
                                 I state under the penalty of perjury that the foreg i g i true and correct.


                                                                             D VTD MORTON, Special Agent
                                                                             Drug Enforcement Administration
                                                                                              Printed name and title
Sworn to, attested to, and affirmed before me via
reliable electronic means pursuant to Federal Rules of
Criminal Procedure 4.1 and 41.

Date: _ ..e..N=o'-'-v=em=b=ere....:,..:18=·-=2=0=2-=-1_ _ __ _ _ __
                                                                                              Judge's signature


City and State:         St. Louis. MO                                        John M. Bodenhausen, U.S. Magistrate Judge
                                                                                              Printed name and title
                                                                            AUSA: STEPHEN CASEY
                 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 2 of 29 PageID #: 2




                 Device #1:
                                                                        card #890 1260 2827 6924 6539 , phon e
                 One grey in color iPhon e containing one T-Mo bile SIM
                                                                     time of his arrest. Devic e #1 was seize d
                 number: unkn own, found on A'Sh ontyn WAT TS at the

                                                             ll!~iq_e evidence bag_# S001419028.
_   _ ____ ..____!?Y DEA as EJS!iibit N-50 , and was seale q




                  Device #2:




                                                                   19
Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 3 of 29 PageID #: 3




                                                                                677, phone
                                          Verizon SIM card #89148000005919299
One grey in color iPhone containing one
                                                                                      seized
                                         TTS at the time of his an-est. Device #2 was
number: unknown, found on A'S hon tyn WA
                                       inside evidence bag #S001419029.
by DEA as Exhibit N-51, and was sealed




 Device #3:
         ----
                                                                                   , phone
                                           Sprint SIM card #89312530000229184439
 One blue in color iPhone containing one
                                                                                       seized
                                          TTS at the time of his arrest. Device #3 was
 number: unknown, found on A'S hon tyn WA
                                         inside evidence bag #S001419030.
  by DEA as Exhibit N-52, and was sealed




                                                  20
               Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 4 of 29 PageID #: 4




                                                       ATTACHMENT B

                   1. All fruits, instrumentalities, and records that relate to violations of Title 21, United States

                      Code, Section 841(a) and 846 (unlawful manufacture, distribution, or possession with

                      intent to distribute a controlled substance and conspiracy) involving A'Shonty n Watts

                       and/or his identified and unidentified co-conspirators, including:

                       a. lists of customers and related identifying information;

                       b. types, amounts, and prices of drugs trafficked as well as dates, places, and amounts of

                            specific transactions;

                       c. any information related to sources of drugs (including names, addresses, phone

                            numbers, or any other identifying information);

                       d. any information recording Watts or his unidentified co-conspirator's schedules or

                            travel to include any GPS data saved or stored on the devices to be searched.

                       e. all bank records, checks, money orders, credit card bills, account information, and

                            other financial records.

                       f.   Images or video regarding the manufacture, distribution, or possession of controlled

                            substances or any related financial transactions.

                       g. Any information related to the manufacturing, processing, or distributing of
                                                                                             -- - - - - - -
- - - - - - -- - -- controlled-substances-or-drug-proceeds-. - - -- -- - - - - - --
-----------
                  h. Graphic interchange formats and/or photographs, and other visual depictions of such

                            Graphic Interchange formats (including, but not limited to, JPG, GIF, TIF, AVI and

                            MPEG) containing matter pertaining to the manufacture and distribution of controlled

                            substances and controlled substance analogs and the laundering of proceeds of the

                            same.



                                                                  21
Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 5 of 29 PageID #: 5




                                                                                         nic
      1.     Electronic mail, chat logs, Internet Relay Chat (IRC) log files and electro
                                                                                        lled
             messages, concerning the trafficking of controlled substances and contro
                                                                                 by United States
             substance analogs through interstate or foreign commerce, including
                                                                                   manufacture and
             mail or by computer, visual depictions, and records pertaining to the
                                                                                     s and the
             distribution of controlled substances and controlled substance analog

             laundering of proceeds of the same.
                                                                                   to the Internet
      J.      Log files and other records concerning dates and times of connection
                                                                                       lled
              and to websites pertaining to the manufacture and distribution of contro
                                                                                       ds of the
              substances and controlled substance analogs and the laundering of procee

              same.
                                                                            or letters
       k. Any Instant Message conversations, chats, e-mails, text messages,
                                                                                        and controlled
              pertaining to the manufacture and distribution of controlled substances

              substance analogs and the laundering of proceeds of the same.
                                                                               Twitter, or
       1. Any social media to include Facebook, Snapchat, Instagram, Linkedln,
                                                                                   or photographs
              WhatsApp which contain conversations, chats, e-mails, text messages,
                                                                                          and
              that pertain to the manufacture and distribution of controlled substances

              controlled substance analogs and the laundering of proceeds of the same.
                                                                            s-to-be--searehed--at-the,- -- - -i
    --. - Evtden-c·e-ofu s·erattribution-showing-who-used-or-owned-the-item
                                                                                     , such as logs,
           time the things described in this wmrnnt were created, edited, or deleted
                                                                           ing history;
           phonebooks, saved usernames and passwords, documents, and brows
                                                                               the foregoing items
           As used above, the terms "records" and "information" include all of
                                                                  been created or stored,
 of evidence in whatever form and by whatever means they may have




                                                    22
Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 6 of 29 PageID #: 6




including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




                                                23
     Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 7 of 29 PageID #: 7




       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH AND SEIZURE
                                WARRANT

             I, David Morton, being duly sworn, depose and state:

I.      INTRODUCTION

        1.       I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of the electronic

devices described in Attachment A, currently in law enforcement possession, and the extraction

from those devices of electronically stored information described in Attachment B.

        2.       I am a Special Agent with the Drug Enforcement Administration (DEA), and have

been so employed since May 2018. I am currently assigned to the DEA' s St. Louis Division

Office (SLDO), specifically Group 33. I have completed the in-resident, 18 week DEA Basic

Agent Training program at the DEA Academy in Quantico, Virginia, which provided extensive

training in all aspects of the investigation of drug trafficking activities and organizations. Prior to

my employment with the DEA, I was a Soldier in the United States Army for over six years and

served as an enlisted Special Agent of the United States Army Criminal Investigation Command

(CID) for the three years prior to my employment with DEA. As a CID Special Agent, I

specialized in investigations related to fraud, sexual assault, and physical and sexual assaults

upon children.

        3.       I am familiar with and have used normal methods of investigation, including, but

not limited to, visual and electronic surveillance, questioning of defendants and witnesses, the

use of search and arrest warrants, the use of pen registers, the use of undercover agents, the use

of confidential sources, and the use of court-authorized wire intercepts. Based upon my training,

experience, and understanding of this investigation, I believe that individuals engaged in drug .




                                                   1
      Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 8 of 29 PageID #: 8




trafficking and money laundering often keep and maintain certain evidence of their crimes in

their electronic devices, to include the items set forth in Attachment E.

         4.      The statements in this affidavit are based in part on my own participation in the

investigation described below, as well as information provided by other law enforcement

officials, and on my experience, training and background. Since this affidavit is being submitted

for the limited purpose of securing a search warrant, I have not included each and every fact

known to me concerning this investigation.

II.      DEVICES TO BE SEARCHED

         5.      This affidavit is submitted in support of an application for the issuance of a search

warrant for the following items (hereafter collectively referred to as the "Devices"):

              a. Device #1: One grey colored iPhone containing one T-Mobile SIM card

                 #8901260282769246539, phone number: unknown, found on A'Shontyn WATTS

                 at the time of his anest. Device #1 was seized by DEA as Exhibit N-50, and was

                 sealed inside evidence bag #S00 1419028.

              b. Device #2: One grey in color iPhone containing one Verizon SIM card

                 #89148000005919299677, phone number: unknown, found on A'Shontyn

                 WATTS at the time of his arrest. Device #2 was seized by DEA as Exhibit N-51,

                 and was sealed inside evidence bag #S001419029.

              c. Device #3: One blue in color iPhone containing one Sprint SIM card

                 #89312530000229184439, phone number: unknown, found on A'Shontyn

                 WATTS at the time of his arrest. Device #3 was seized by DEA as Exhibit N-52,

                 and was sealed inside evidence bag #S001419030.




                                                   2
   Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 9 of 29 PageID #: 9




       6.       The Devices are currently in the possession of the DEA. As described in greater

detail below, the Devices were all seized from A'Shontyn WATTS on July 12, 2021 during the

arrest of WATTS by members of the St. Louis County Police Department, Intelligence Unit.

       7.       The applied-for warrant would authorize the forensic examination of the Devices

for the purpose of identifying electronically stored data particularly described in Attachment B.

III.   TECHNICAL TERMS

       8.       Based on my training and experience, I use the following technical terms to

convey the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

telephone) is a handheld wireless device used for voice and data communication through radio

signals. These telephones send signals through networks of transmitter/receivers, enabling

communication with other wireless telephones or traditional "land line" telephones. A wireless

telephone usually contains a "call log," which records the telephone number, date, and time of

calls made to and from the phone. In addition to enabling voice communications, wireless

telephones offer a broad range of capabilities. These capabilities include: storing names and

phone numbers in electronic "address books;" sending, receiving, and storing text messages and

e-mail; taking, sending, receiving, and storing still photographs and moving video; storing and

playing back audio files; storing dates, appointments, and other information on personal

calendars; and accessing and downloading information from the Internet. Wireless telephones

may also include global positioning system ("GPS") technology for determining the location of

the device. A wireless telephone may have wireless connection capabilities such as Wi-Fi and

Bluetooth.




                                                 3
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 10 of 29 PageID #: 10




           b. Digital camera: A digital camera is a camera that records pictures as digital

picture files, rather than by using photographic film. Digital cameras use a variety of fixed and

removable storage media to store their recorded images. Images can usually be retrieved by

connecting the camera to a computer or by connecting the removable storage medium to a

separate reader. Removable storage media include various types of flash memory cards or

miniature hard drives. Most digital cameras also include a screen for viewing the stored images.

This storage media can contain any digital data, including data unrelated to photographs or

videos.

           c. Portable media player: A portable media player (or "MP3 Player" or iPod) is a

handheld digital storage device designed primarily to store and play audio, video, or

photographic files. However, a portable media player can also store other digital data. Some

po1iable media players can use removable storage media. Removable storage media include

various types of flash memory cards or miniature hard drives. This removable storage media can

also store any digital data. Depending on the model, a portable media player may have the

ability to store very large amounts of electronic data and may offer additional features such as a

calendar, contact list, clock, or games.

           d. GPS: A GPS navigation device uses the Global Positioning System to display its

current location. It often contains records the locations where it has been. Some GPS navigation

devices can give a user driving or walking directions to another location. These devices can

contain records of the addresses or locations involved in such navigation. The Global

Positioning System (generally abbreviated "GPS") consists of 24 NAVST AR satellites orbiting

the Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly

transmits by radio a mathematical representation of the current time, combined with a special



                                                 4
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 11 of 29 PageID #: 11




sequence of numbers. These signals are sent by radio, using specifications that are publicly

available. A GPS antenna on Earth can receive those signals. When a GPS antenna receives

signals from at least four satellites, a computer connected to that antenna can mathematically

calculate the antenna's latitude, longitude, and sometimes altitude with a high level of precision.

             e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

for storing data (such as names, addresses, appointments or notes) and utilizing computer

programs. Some PDAs also function as wireless communication Devices and are used to access

the Internet and send and receive e-mail. PDAs usually include a memory card or other

removable storage media for storing data and a keyboard and/or touch screen for entering data.

Removable storage media include various types of flash memory cards or miniature hard drives.

This removable storage media can store any digital data. Most PDAs run computer software,

giving them many of the same capabilities as personal computers. For example, PDA users can

work with word-processing documents, spreadsheets, and presentations. PDAs may also include

global positioning system ("GPS") technology for determining the location of the device.

             f.   IP Address: An Internet Protocol address (or simply "IP address") is a unique

numeric address used by computers on the Internet. An IP address is a series of four numbers,

each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer attached to

the Internet computer must be assigned an IP address so that Internet traffic sent from and

directed to that computer may be directed properly from its source to its destination. Most

Internet service providers control a range of IP addresses. Some computers have static-that is,

long-term-IP addresses, while other computers have dynamic-that is, frequently changed-IP

addresses.




                                                   5
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 12 of 29 PageID #: 12




             g. Internet: The internet is a global network of computers and other electronic

devices that communicate with each other. Due to the structure of the internet, connections

between devices on the internet often cross state and international borders, even when the

devices communicating with each other are in the same state.

       9.       Based on my training, experience, and research, I know that the Devices have

capabilities that allow them to serve as a wireless telephone, digital camera, portable media

player, GPS navigation Device, and PDA. In my training and experience, examining data stored

on devices ofthis type can uncover, among other things, evidence that reveals or suggests who

possessed or used the Devices.

IV.    OVERVIEW OF INVESTIGATION

       10.      I am part of an experienced team of drug investigators that is investigating the

drug trafficking activities of A' Shontyn WATTS. This investigation has established evidence

that WATTS and others are engaged in a conspiracy to distribute controlled substances in

violation of Title 21, United States Code, Sections 841 (a)(l) and 846; and laundering of

monetary instruments in violation of Title 18, United States Code, Sections 1956 and 1957.

WATTS is part of the Troy EDWARDS drug trafficking organization (DTO) operating primarily

in the St. Louis, Missouri metropolitan area.

       11.      As described in further detail below, evidence obtained sources including from

telephone toll records, Title III wiretaps, confidential source information, and geolocation

information indicates WATTS is engaged in drug trafficking activities. WATTS has been

identified as a trusted associate of EDWARDS.




                                                  6
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 13 of 29 PageID #: 13




       12.     On July 12, 2021 , members of the St. Louis County Police Department,

Intelligence Unit, arrested WATTS for his involvement with a north St. Louis County, Missouri

nightclub shooting, which resulted in the seizure of the Devices from WATTS' person.

V.     PROBABLE CAUSE

       Initial Investigation of WATTS

       13.     On August 7, 2018, St. Louis DEA Group 33 investigators approached WATTS at

the St. Louis Lambert International Airport, St. Louis, Missouri, as he waited to board an early

morning flight to Los Angeles. WATTS provided vague and changing information about his

purpose for travel to Los Angeles, which investigators know is a source city for controlled

substances. WATTS consented to investigators' request to search his carry-on bag and checked

bags. Investigators located and seized $34,896.00 in United States currency (USC) from

WATTS. Fallowing the discovery of the currency, a police drug detection canine positively

alerted to the presence of illegal narcotics on the USC. 1 At the time of the seizure, WATTS

provided investigators with telephone number (314) 276-1311.

       14.     Following this seizure, investigators conducted a criminal record search of

WATTS and discovered a March 5, 2018 arrest citation for Violation of the Missouri Controlled

Substance Law. On the arrest citation, WATTS provided a St. Louis Metropolitan Police

Depaiiment officer with telephone number (314) 265-8268 . I reviewed WATTS' publicly

accessible social media accounts and learned that WATTS was close friends with EDWARDS.

       WATTS' Historical Usage of Phones to Facilitate Drug Trafficking




1. WATTS later contested the seizure. The seized currency was returned to WATTS so as to avoid
triggering discovery proceedings that would reveal the ongoing investigation of WATTS, EDWARDS,
and others that resulted from this initial seizure from WATTS as detailed later in this affidavit.
                                                                          I



                                                 7
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 14 of 29 PageID #: 14




          15.   In February 2019, a DEA Confidential Source (hereinafter referred to as "the

CS"), made a recorded call to WATTS at 314-265-8268, and negotiated the purchase of four (4)

ounces offentanyl for $1,500.00 per ounce.

          16.   In March 2019, DEA St. Louis initiated court-authorized interception of the voice

and text message conversations of phone number (314) 265-8268 used by WATTS . In May

2019, DEA St. Louis resumed interception of WATTS using phone number (314) 265-8268 and

initiated interception of phone number (314) 399-1748, which was also determined to be in use

by WATTS. The communications intercepted on these telephones indicated WATTS was

engaged in the nearly daily distribution of marijuana, and also learned that WATTS did not

appear to be employed by a business or other conventional employer.

          Telephonic Communications Pertaining to a Money Seizure

          17.   On September 12, 2019 at approximately 9:49 p.m., during court-authorized

interception of a phone used by EDWARDS, DEA St. Louis intercepted an outgoing call placed

by EDWARDS to the unidentified male user of phone number 618-795-2239. During the call,

EDWARDS stated "I been hit ... I need _her to get uh ... Little A out of trouble. That nigga got

my money and everything." The unidentified male asked "[w]ho, Little A?" and EDWARDS

responded "[y]eah man, they flagged him." Investigators suspected that "Little A" referred to

WATTS and know that "flagged" is a colloquial term that refers to being pulled over by the

police.

          18.   Investigators later determined that on the evening of September 12, 2019, at

approximately 9:41 p.m., WATTS, Dalarrion SCALES, and Jeremy HENLEY attempted to flee

from East St. Louis, Illinois police officers in WATTS' 2018 Jeep Track Hawk Sport Utility

Vehicle (SUV) after ESLPD attempted to stop the .vehicle. WATTS was the driver. The SUV ran



                                                 8
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 15 of 29 PageID #: 15




out of gas during the pursuit, and WATTS, SCALES and HENLEY fled the scene. WATTS and

his associates were apprehended and found to be in possession of a large amount of marijuana,

$45,699.99 United States currency (believed to be EDWARDS' money), and a handgun.

        Phone Tolls

        19.     Throughout the course of this investigation, agents have identified multiple phone

numbers suspected of or confirmed to be in use by WATTS. I know from my training and

experience that drug traffickers frequently use multiple telephones to facilitate their drug

trafficking activities.

        20.     Throughout the multi-year investigation involving WATTS, I have noted that

WATTS has consistently maintained use of phone numbers (314) 265-8268 and (314) 399-1748.

In.the experience of the investigative team, drug traffickers commonly possess multiple

telephone numbers and periodically discontinue the use of some phone numbers and replace

them with new numbers. This is done in an effort to frustrate law enforcement efforts to monitor

the usage of a given device involved in drug trafficking activities. Conversely, WATTS has

employed the same "dirty" phone numbers for several years. It is notable that the subscriber

information for both aforementioned devices has not changed over the course of several years,

indicating the same user has maintained the phones. Additionally, the Devices are all late-model

iPhones, which contain significant storage capability. Based on these facts, I believe the Devices

are capable of, and likely to possess, a volume of incriminating evidence that exceeds the storage

and usage capabilities of the cheaper, smaller, "burner" phones frequently employed by

suspected drug traffickers. Investigators obtained the tolls records of WATTS' (314) 314-1748

between June 4, 2021 and August 8, 2021. It is notable that the last outgoing communication




                                                  9
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 16 of 29 PageID #: 16




made by WATTS' (314) 314-1748 phone number during this timeframe was made on July 12,

2021, the same day he was aITested by St. Louis County Police Depmiment officers.

       21.      A review of the phone tolls of WATTS' (314) 399-1748 phone number revealed
                                                               2
repeated contact with phone numbers linked to drug trafficking. Phone numbers in contact with

WATTS ' (314) 399-1748 phone number include:

             a. (314) 705-4566: 22 outgoing calls between June 5, 2021 and June 24, 2021. This

phone number was also listed in the iMessage and FaceTime call invitation logs of Kenneth

THOMAS, a significant multi-kilogram polydrug distributor recently arrested in Tijuana,

Mexico. A storage unit used by THOMAS was found to contain 12 kilograms of fentanyl. In

December 2020, investigators received court authorization to conduct a search of an iCloud

account that was determined to be in use by THOMAS. The FaceTime call invitation logs

contained 16 FaceTime call invitations to WATTS' (314) 265-8268 phone number and one call
                                                 3
invitation to WATTS' (314) 399-1748 phone number. THOMAS' iCloud account also

contained a contact titled "Ashontyn," which listed phone number (314) 399-1748. THOMAS is

currently charged with drug trafficking in Case Number 4:21CR554 SRC DDN.

             b. (314) 319-8181: 19 outgoing calls between July 9, 2021 and July 11, 2021. The

phone number is subscribed to Jon Kambell, P.O. Box 15955, Lenexa, KS 66285. Review of a

DEA database linked the phone number to four separate, active DEA investigations; however,




2. It should be noted that the phone tolls of phone number (314) 265-8268 show the phone has continued
to be used after WATTS was released from prison following his arrest on July 12, 2021. Consequently,
investigators believe WA TIS is still in possession of that telephone.
3. The FaceTime call invitation logs provided by Apple stated: "*These logs do not indicate that any
communication between users actually took place. These logs indicate that the source handle initiated a
FaceTime call to the recipient handle which was routed to Apple's servers. Apple has no information as to
whether the Face Time call was successfully established or information regarding duration of a Face Time
call. Face Time call invitation logs where the calling device and the receiving device are both running iOS
 10 or higher will not include instances of Invitation Accept and Invitation Reject."

                                                    10
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 17 of 29 PageID #: 17




the name Jon Kambell appears fictitious. The name Kambell appeared to be fictitious following

multiple open source and law enforcement database queries. The use of a fictitious subscriber

name for a particular phone number is a common method of tradecraft deployed by drug

traffickers and money launderers as a way to avoid law enforcement detection and conceal the

user's true identity.

              c. (314) 261-6126: 14 outgoing calls between June 2, 2021 and July 11, 2021. The

phone is subscribed to Casey Sanders, 3 Fermidge Drive, St. Peters, MO 63376. Review of a

DEA database linked the phone number to approximately six separate, active DEA and FBI

investigations. A law enforcement database query was conducted and resulted in a Casey

Sanders having a criminal history of Possession of a Controlled Substance and Possession of

Marijuana/Synthetic Cannabinoid in June 2019.

        Drug Activity Involving WATTS

        22.      On March 11, 2021, DEA St. Louis and United States Postal Inspection Service

(USPIS) investigators established surveillance of a suspicious vehicle parked in a hotel parking

lot in Arnold, Missouri. At approximately 9:37 p.m., investigators observed a black-colored

BMW sedan bearing an Illinois license plate drive into the hotel parking lot, then almost

immediately drive out of the lot and begin to circle the parking lots of nearby businesses.

Investigators believed the vehicle was conducting counter-surveillance in an attempt to identify

the presence of law enforcement.

        23.       Minutes later, investigators observed the BMW leave the vicinity of the hotel,

then travel back in to the area and park several parking spaces away from the suspicious vehicle.

Investigators then observed a man later identified as Kendrez MURPHY exit the BMW,

immediately walk to the front driver' s side wheel, and then reach briefly into the wheel well



                                                  11
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 18 of 29 PageID #: 18




before walking to the trunk of the car. MURPHY then opened the vehicle's trunk and leaned into

the trunk to retrieve multiple brick-shaped items from a bag in the trunk.

        24.    Investigators, wearing vests with "Police" placards clearly visible on their chests

and yelling "police," detained MURPHY after he attempted to flee on foot. MURPHY was found

in possession of two phones, one of which he stated was currently being used to FaceTime. By

the time investigators retrieved the phones from the ground, no active FaceTime call was

observed.

        25 .   Group Supervisor (GS) Tiras Cunningham and I interviewed MURPHY. After

being advised of his rights per Miranda, MURPHY stated he was sent to the hotel by WATTS.

MURPHY stated he regularly picks up loads of marijuana on behalf of WATTS and is paid

$500.00 and a pound of marijuana each time he retrieves the marijuana for WATTS. MURPHY

stated at other times, he will purchase between 30 and 40 pounds of marijuana from WATTS to

sell.

        26.    MURPHY stated he was in the downtown St. Louis, MO area earlier that night

when he was contacted by WATTS. MURPHY related that WATTS asked him to travel to the

hotel to retrieve something from a vehicle and provided him with the hotel address. MURPHY

stated he did not know what he was retrieving until he observed the brick-shaped objects in the

duffel bag. MURPHY related when WATTS contacted him to ask that MURPHY go to the hotel,

WATTS spontaneously told MURPHY that he (WATTS) would never put MURPHY in a bad

situation and stated he (WATTS) would pay MURPHY $2,000.00 to retrieve the bag from the

vehicle in the hotel parking lot. MURPHY stated he was FaceTiming with WATTS as he walked

to the vehicle and was told by WATTS to retrieve the vehicle's key from the front driver side

wheel well. MURPHY stated he believed WATTS was simultaneously Face Timing a second



                                                 12
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 19 of 29 PageID #: 19




individual as he was in contact with MURPHY. MURPHY stated he knew that whatever he was

supposed to retrieve from the vehicle was supplied by "Pimpin" who he described as WATTS'

uncle. Investigators know that "Pimpin" is the nickname of THOMAS. MURPHY was then

released from the scene.

       Seizure of the Devices

       27.     On July 12, 2021, investigators with the St. Louis County Police Department,

Intelligence Unit arrested WATTS for his involvement in a north St. Louis County, Missouri

night club shooting. At the time of his arrest, WATTS was in possession of Device # 1, Device

#2, and Device #3. It should be mentioned, the night club where the shooting occurred is owned

by Davante Lindsey, who is an associate of members of the EDWARDS DTO, and is suspected

of operating his own independent DTO.

       28.     On July 13, 2021, SA Christopher Most and I obtained the Devices from

Detective Matthew King with the St. Louis County Police Department, Bureau of Crimes

Against Persons, and then transported the Devices to the DEA St. Louis Division Office where

the Devices were submitted to the Non-Drug Evidence Vault for safekeeping pending an

application of a search warrant to forensically search them. Throughout the time in law

enforcement custody, based on my training and experience, I know that the Devices have been

stored in a manner in which its contents are, to the extent material to this investigation, in

substantially the same state as they were when the device first came into the possession of the

investigative agency(ies ).




                                                  13
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 20 of 29 PageID #: 20




VI.    EVIDENCE LIKELY TO BE FOUND IN THE DEVICES

       29.     Based on phone toll analysis, I believe WATTS possesses multiple telephones and

telephone numbers at once, and does not changes phone numbers or discontinue service to

previously used phone numbers, as other typical drug traffickers do.

       30.     I also know that wireless telephones possess applications that can be used to store

drug transaction information, ledgers, contact information, and other such records. This data can

also be synchronized across devices and stored on other wireless telephones, tablets, and/or

computers if the user makes use of a cloud-based storage service or manually transfers records

from device to device.

       31 .    Wireless telephones are also frequently used to communicate via various

messaging applications. I am aware that drug traffickers frequently use end-to-end encrypted

communication applications to securely communicate with their co-conspirators. These

applications are sometimes designed to purge those communications after their transmission

from any external server associated with the application, thus making the data impossible to

retrieve remotely. I also know that a wireless telephone' s storage options can be adjusted to

prevent uploading of data to a cloud-based storage platform. As a consequence of traffickers' use

of secure messaging applications and localized storage, I know that wireless devices can

sometimes be the sole storage media where certain communications, images, and financial

transaction records are stored and retrievable. Investigators believe the phones likely used by

WATTS to communicate with co-conspirators contain valuable evidence of their drug trafficking

conspiracy, coordination, and other illegal potential illegal activities, such as information

pertaining to the north St. Louis County, Missouri night club shooting.




                                                 14
  Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 21 of 29 PageID #: 21




        32.     Wireless telephones can also possess text messages, call logs, and other records of

communications that serve as valuable evidence in a drug conspiracy. From my training and

experience, I know that drug traffickers sometimes use encrypted communications applications,

such as iMessage and Signal, which allow traffickers to communicate securely without a means

for law enforcement to capture the content of those communications. These messages may be

stored solely on the device used to send such messages, making it the only container of such

evidence. Based on intercepted calls and text messages, investigators know that WATTS makes

also makes use of "FaceTime" video calling to communicate with EDWARDS and other

associates, and specifically to discuss drug trafficking activities. FaceTime call logs can serve as

valuable evidence of attempted or actual communication between individuals, and Face Time call

 logs are only stored by Apple for a short period of time. Consequently, such call logs contained

 on the Devices themselves may constitute evidence that cannot be obtained through any other

means than a forensic examination of the Devices.

        33.     I also know that drug dealers can use wireless phones to access social media

 accounts. Many social media platforms contain direct messaging capabilities, which enable

 individuals to privately communicate with other users of the application. The investigative team

· know from their training and experience that drug traffickers sometimes use such private

 messaging applications to facilitate their drug trafficking activities, and that these messages can

 be stored on, and accessible from, a seized device.

        34.     I know that drug traffickers often take pictures using their phones showing them

 holding large sums of United State currency, as a way to "flash" or show off their wealth. These

 pictures usually also include expensive jewelry, clothing, firearms , drugs, vehicles, homes, and




                                                  15
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 22 of 29 PageID #: 22




other assets. Sometimes these pictures are taken with other associates. Investigators know that

these pictures are often taken with, and stored within, cellular telephones such as the Devices.

VII.   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       35.       Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.

        36.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Devices were used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Devices because:

              a. Data on the storage medium can provide evidence of a file that was once on the

                 storage medium but has since been deleted or edited, or of a deleted portion of a

                 file (such as a paragraph that has been deleted from a word processing file).

              b. Forensic evidence on a device can also indicate who has used or controlled the

                 device. This "user attribution" evidence is analogous to the search for "indicia of

                 occupancy" while executing a search warrant at a residence.

              c. A person with appropriate familiarity with how an electronic device works may,

                 after examining this forensic evidence in its proper context, be able to draw

                 conclusions about how electronic devices were used, the purpose of their use, who

                 used them, and when.




                                                  16
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 23 of 29 PageID #: 23




             d. The process of identifying the exact electronically stored information on a storage

                medium that is necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review

                team and passed along to investigators. Whether data stored on a computer is

                evidence may depend on other information stored on the computer and the

                application of knowledge about how a computer behaves. Therefore, contextual

                information necessary to understand other evidence also falls within the scope of

                the warrant.

             e. Further, in finding evidence of how a device was used, the purpose of its use, who

                used it, and when, sometimes it is necessary to establish that a particular thing is .

                not present on a storage medium.

       37.       Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the Devices

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the Devices to human inspection in order to determine whether it is evidence

described by the warrant.

VIII. CONCLUSION

       38.       I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Devices described in Attachment A to seek the items

described in Attachment B.

       39.       Because this warrant seeks only permission to examine the Devices already in law

enforcement's possession, the execution of this warrant does not involve the physical intrusion



                                                  17
Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 24 of 29 PageID #: 24




 onto a premises. Consequently, I submit there is reasonable cause for the Court to authorize

 execution of the warrant at any time in the day or night.

         40.       It is respectfully requested that this Court issue an order sealing, until further

 order of the Court, all papers submitted in support of this application, including the application

 and search warrant. I believe that sealing this document is necessary because the warrant is

 relevant to an ongoing investigation into the criminal organizations as not all of the targets of this

 investigation will be searched at this time. Based upon my training and experience, I have

 learned that, online criminals actively search for criminal affidavits and search warrants via the

 internet, and disseminate them to other online criminals as they deem appropriate, i.e., post them

 publicly online through the carding forums. Premature disclosure of the contents of this affidavit

 and related documents may have a significant and negative impact on the continuing

 investigation and may severely jeopardize its effectiveness.


         I state under the penalty of perjury that the foregoing is

  ~, I l°6 /   2.CJ2., \
 DATE
                                                   Special Agent
                                                   Drug Enforcement Administration

 Sworn to, attested to and affirmed before me pursuant to Federal Rules of Criminal Procedure
                 18th
 4.1 and41 this_dayofNovember,2021.




                                                          JOHN M. BODENHAUSEN
                                                          UNITED STATES MAGISTRATE JUDGE
                                                          Eastern District of Missouri




                                                     18
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 25 of 29 PageID #: 25




Device #1:

One grey in color iPhone containing one T-Mobile SIM card #8901260282769246539, phone

number: unknown, found on A' Shontyn WATTS at the time of his arrest. Device # 1 was seized

by DEA as Exhibit N-50, and was sealed inside evidence bag #S001419028.




Device #2:




                                             19
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 26 of 29 PageID #: 26




One grey in color iPhone containing one Verizon SIM card #89148000005919299677, phone

number: unknown, found on A' Shontyn WATTS at the time of his arrest. Device #2 was seized

by DEA as Exhibit N-51, and was sealed inside evidence bag #S001419029.




Device #3:

One blue in color iPhone containing one Sprint SIM card #89312530000229184439, phone

number: unknown, found on A' Shontyn WATTS at the time of his arrest. Device #3 was seized

by DEA as Exhibit N-52, and was sealed inside evidence bag #S001419030.




                                             20
Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 27 of 29 PageID #: 27




                                     ATTACHMENT B

 I. All fruits, instrumentalities, and records that relate to violations of Title 21, United States

    Code, Section 841(a) and 846 (unlawful manufacture, distribution, or possession with

    intent to distribute a controlled substance and conspiracy) involving A'Shontyn Watts

    and/or his identified and unidentified co-conspirators, including:

    a. lists of customers and related identifying information;

    b. types, amounts, and prices of drugs trafficked as well as dates, places, and amounts of

          specific transactions;

    c. any information related to sources of drugs (including names, addresses, phone

          numbers, or any other identifying information);

    d. any information recording Watts or his unidentified co-conspirator's schedules or

          travel to include any GPS data saved or stored on the devices to be searched.

    e. all bank records, checks, money orders, credit card bills, account information, and

          other financial records.

     f.   Images or video regarding the manufacture, distribution, or possession of controlled

          substances or any related financial transactions.

     g. Any information related to the manufacturing, processing, or distributing of

          controlled substances or drug proceeds.

     h. Graphic interchange formats and/or photographs, and other visual depictions of such

          Graphic Interchange formats (including, but not limited to, JPG, GIF, TIF, AVI and

          MPEG) containing matter pertaining to the manufacture and distribution of controlled

          substances and controlled substance analogs and the laundering of proceeds of the

          same.



                                               21
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 28 of 29 PageID #: 28




      1.   Electronic mail, chat logs, Internet Relay Chat (IRC) log files and electronic

           messages, concerning the trafficking of controlled substances and controlled

           substance analogs through interstate or foreign commerce, including by United States

           mail or by computer, visual depictions, and records pertaining to the manufacture and

           distribution of controlled substances and controlled substance analogs and the

           laundering of proceeds of the same.

      J.   Log files and other records concerning dates and times of connection to the Internet

           and to websites pertaining to the manufacture and distribution of controlled

           substances and controlled substance analogs and the laundering of proceeds of the

           same.

      k. Any Instant Message conversations, chats, e-mails, text messages, or letters

           pertaining to the manufacture and distribution of controlled substances and controlled

           substance analogs and the laundering of proceeds of the same.

       1. Any social media to include Facebook, Snapchat, Instagram, Linkedin, Twitter, or

           WhatsApp which contain conversations, chats, e-mails, text messages, or photographs

           that pertain to the manufacture and distribution of controlled substances and

           controlled substance analogs and the laundering of proceeds of the same.

   2. Evidence of user attribution showing who used or owned the items to be searched at the

       time the things described in this warrant were created, edited, or deleted, such as logs,

       phonebooks, saved usernames and passwords, documents, and browsing history;

       As used above, the terms "records" and "information" include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,




                                                 22
 Case: 4:21-mj-01416-JMB Doc. #: 1 Filed: 11/18/21 Page: 29 of 29 PageID #: 29




including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




                                               23
